     Case 2:12-cv-00859-LMA-MBN Document 1336 Filed 09/18/20 Page 1 of 7




                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

 LASHAWN JONES, ET AL.,                        *
                                               *        CIVIL ACTION CASE
                              Plaintiffs,      *
                                               *        NO. 2:12-cv-00859
 VERSUS                                        *
                                               *        SECTION “I”
 MARLIN GUSMAN, ORLEANS PARISH                 *        JUDGE LANCE M. AFRICK
 SHERIFF, ET AL.,                              *
                                                        MAGISTRATE “5”
                                               *
                              Defendants.               MICHAEL B. NORTH
                                               *
 * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *

                COMPLIANCE DIRECTOR’S ADDITIONAL EXHIBIT LIST

       Independent Jail Compliance Director Darnley R. Hodge, Sr. (the “Compliance Director”),

through undersigned counsel, respectfully submits his Additional Exhibit List pursuant to the

Court’s Minute Entry, dated August 20, 2020, Doc. No. 1320, and Order of August 28, 2020, Doc.

No. 1325, and the objections by the City of New Orleans.

A.     Exhibit List

1.     Report on Funding Available, prepared by Michael G. Gaffney, dated July 20, 2020;

2.     Excerpts from PW 3977- Original PW for Templeman 1 & 2;

3.     Excerpts from PW 21063- PW for Templeman 1 &2 after Sheriff Gusman helps City;

4.     Excerpts from PW 20494- Consolidated Alternate Project;

5.     Excerpts from PW 21081- OPP Docks;

6.     Gaffney letter dated November 16, 2015, letter reflecting relative square footage between

       Templeman 1 & 2;

7.     Public Records Request;

8.     FEMA letter to Lynne Browning dated September 10, 2019 (w/o attachment);

                                               1
      Case 2:12-cv-00859-LMA-MBN Document 1336 Filed 09/18/20 Page 2 of 7




9.     Email dated October 18, 2018 from Trey Marino to Vincent Smith listing recipient

       projects;

10.    FEMA correspondence and attachment dated March 15, 2018;

11.    GOHSEP correspondence dated September 23, 2016;

12.    FEMA November 20, 2012 letter;

13.    List of Approved Recipients FEMA Correspondence Log 5637;

14.    FEMA correspondence dated January 10, 2014;

15.    FEMA correspondence dated June 23, 2014;

16.    FEMA correspondence dated May 11, 2015;

17.    FEMA correspondence dated May 20, 2015;

18.    SWB correspondence dated September 7, 2016;

19.    CNO Criminal Justice Alternate Project List PW 20494;

20.    FEMA correspondence dated February 10, 2017;

21.    CNO correspondence dated April 7, 2017;

22.    FEMA correspondence dated June 28, 2017;

23.    FEMA correspondence dated July 17, 2017;

24.    FEMA correspondence dated July 18, 2017;

25.    FEMA correspondence dated July 18, 2017;

26.    FEMA correspondence dated April 6, 2018;

27.    FEMA correspondence dated April 20, 2018;

28.    Email from GPHSEP Custodian of Records, dated 7/7/20 (Exhibit 25);

29.    Correspondence from the City, dated May 14, 2013;



                                             2
      Case 2:12-cv-00859-LMA-MBN Document 1336 Filed 09/18/20 Page 3 of 7




30.    Correspondence and estimate from The McDonnel Group/Archer Western Contractors

       Joint Venture, dated June 25, 2015;

31.    Correspondence from the Resident Engineer, dated July 27, 2015;

32.    Excel spreadsheet of RRFs processed in PW 20494;

33.    Reimbursement Report from GOHSEP on PW 21081;

34.    CNO advertisement to Community for Temporary Detention Center;

35.    Summary of and excerpts from Project Worksheet for allocation of Central Plant Costs;

36.    Letter from Project Delivery Unit Manager, dated May 14, 2013;

37.    CNO letter to Mark Debosier dated December 17, 2020;

38.    Letter from Grace/Hebert dated December 17, 2013;

39.    Demonstrative Exhibits as to Funds Available;

40.     Demonstrative Exhibits of Tables in paragraphs XI, XIII, and XIV of the Affidavit of

       Michael G. Gaffney, Esq.;

41.    Demonstrative Exhibits as to Funds Remaining.

42.    The Compliance Director will use the City Status Reports, as well as the attached summary

of those reports:

       Doc. No.
        1231          City Status Report (4/18/2019)
        1234          City Status Report (5/17/2019)
        1238          City Status Report (6/18/2019)
        1243          City Status Report (7/18/2019)
        1244          City Status Report (8/14/2019)
        1249          City Status Report (9/18/2019)
        1252          City Status Report (10/18/2019)
        1253          City Status Report (11/19/2019)
        1256          City Status Report (12/18/2019)
        1258          City Status Report (1/17/2020)
        1261          City Status Report (2/21/2020)
        1266          City Status Report (3/18/2020)

                                               3
      Case 2:12-cv-00859-LMA-MBN Document 1336 Filed 09/18/20 Page 4 of 7




         1268          City Status Report (4/17/2020)
         1276          City Status Report (5/31/2020)
         1279          City Status Report (6/10/2020)
         1307          City Status Report (7/28/2020)
         1326          City Status Report (8/31/2020)

43.    The Compliance Director will use the Monitor Reports, as well as the attached summary

of those reports:

       Doc. No.
         609           Monitor Report No. 1 (2/13/2014)
         744           Monitor Report No. 2 (8/26/2014)
         790           Monitor Report No. 3 (2/25/2015)
         881           Monitor Report No. 4 (9/9/2015)
         996           Monitor Report No. 5 (3/18/2016)
        1101           Monitor Report No. 6 (10/25/2016)
        1120           Monitor Report No. 7 (5/1/2017)
        1143           Monitor Report No. 8 (1/18/2018)
        1188           Monitor Report No. 9 (8/29/2018)
        1226           Monitor Report No. 10 (3/18/2019)
        1259           Monitor Report No. 11 (1/22/2020)
        1303           Monitor Report No. 12 (7/27/2020)

44.    Printout of PACER entries from the Supplemental Compliance Action Plan, Doc. No. 1082

to present.

45.    Email chain ending with Gary Maynard email to Eric Melancon dated December 23, 2016

at 4:41 p.m.

46.    Word document “MH-Ph III-Compliance Plan-em-gm=12-23.docx” attached to Gary

Maynard email of #6.

47.    Screenshot showing author of document #46.

48.    Screenshot showing revision history of document #46.

49.    Word document of “Compliance Plan.docx” attached to Melancon email of #6.

50.    Screenshot showing author of document #49.



                                              4
      Case 2:12-cv-00859-LMA-MBN Document 1336 Filed 09/18/20 Page 5 of 7




51.    Email chain ending with Gary Maynard email to Eric Melancon dated December 23, 2016

at 7:54 p.m.

52.    Letter from Hon. Mitchell J. Landrieu, Marlin N. Gusman, and Gary Maynard to Secretary

James M. LeBlanc, dated July 24, 2017.

53.    Metropolitan Crime Commission Report dated August 19, 2020.

54.    Doc. No. 1297-9, City of New Orleans Ordinance No. 28300.

55.    Doc. No. 1297-8, Letter from Vincent Smith to Darnley Hodge, dated December 13, 2018,

plus attachments.

56.    Doc. No. 1297-5, Letter from Traci L. Brasher to Lynne Browning, dated September 16,

2019, plus attachments.

57.    Hunt List.

58.    Plaintiff Inmate List.

59.    The Court’s Minute Entry, dated August 20, 2020, Doc. No. 1320, stated that, “the Court

considers all exhibits and documents in the record of the case to be admissible for purposes of this

motion.” As such, the Compliance Director will use record documents, including, but not limited

to:

       Doc. No.
          70              DOJ Complaint
         465              Order Approving Consent Judgment
         466              Consent Decree
         738              Order regarding Short-Term Housing
        1082              Stipulated Order
        1106              Supplemental Compliance Action Plan
        1127              Transcript of Status Conference (6/8/17)
        1221              Minute Entry dated 1/25/2019
        1222              City Reply to Minute Entry
        1227              Order regarding Phase III
        1259              Monitor’s Report No. 11 (1/22/2019)
        1276              City Status Report (5/31/2020)

                                                  5
      Case 2:12-cv-00859-LMA-MBN Document 1336 Filed 09/18/20 Page 6 of 7




         1279           Updated City Status Report (6/10/2020)
         1280           Minute Entry (6/10/2020)
         1281           Motion and Memo for Relief from Court Orders
         1311           Order & Reasons, dated August 5, 2020
         1312           City Reply Memo

60.    City Council video referenced in Doc. No. 1320.

61.    Any exhibit needed for rebuttal.

62.    Any exhibit listed by another party.

B.     Objections by the City of New Orleans

The City objects as follows:

“Exhibit 2-5, 8-17, 20, 22-27, 30, 56 – hearsay; irrelevant to the City’s Motion for Relief based

on a significant change in circumstances; The City is requesting coordination with counsel for the

Compliance Director in an effort to explore a possible stipulation as to all FEMA exhibits; confuses

the issue; the number of exhibits offered by the Compliance Director regarding FEMA will

consume an inordinate amount of time which will create unfair prejudice given the time limitations

put in place by the Court; FEMA matters are beyond the purview of the Compliance Director.

Exhibits 39-41 – hearsay; accuracy of “demonstratives” unconfirmed; Exhibit 41 first received

by the City of New Orleans on 9/18/20, and has not yet been reviewed.

Exhibits 45-51 – hearsay; documents first produced on 9/8; if the referenced emails are accepted

by the Court, the City is requesting an opportunity to call a rebuttal witness.

Exhibit 53 – hearsay

The City re-urges its objection and does not consent to the former Compliance Director

proceeding as if he is a party to this consent decree litigation matter, when he is not a party, but

instead would more appropriately be a witness. We further object to the Compliance Director’s

private counsel litigating against the City, at the City’s cost, without consent for same – in this

                                                  6
     Case 2:12-cv-00859-LMA-MBN Document 1336 Filed 09/18/20 Page 7 of 7




litigation matter – in a manner that appears to be intended to further burden the City and to confuse

the record on the City’s Motion for Relief based on a significant change in circumstances. The

City also objects to continuing to incur cost related to the Compliance Director and his private

counsel, in addition to the compensation of the duly elected Sheriff and OPSO staff, when the

Court has ruled (and no party has opposed) that all requirements for termination of the Compliance

Director have been met.”


                                                      Respectfully submitted,


                                                      /s/ Bryan C. Reuter
                                                      Richard C. Stanley, 8487
                                                      Bryan C. Reuter, 23910
                                                      Stanley, Reuter, Ross, Thornton & Alford, L.L.C.
                                                      909 Poydras Street, Suite 2500
                                                      New Orleans, Louisiana 70112
                                                      Telephone: 504-523-1580
                                                      Facsimile: 504-524-0069
                                                      rcs@stanleyreuter.com
                                                      bcr@stanleyreuter.com
                                                      Attorneys for Darnley R. Hodge, Sr.




                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 18, 2020, a copy of the foregoing Compliance Director’s

Additional Exhibit List was filed electronically with the Clerk of Court using the CM/ECF system.

Notice of this filing will be sent to all counsel of record by operation of the Court’s electronic

filing system.


                                                      /s/ Bryan C. Reuter


                                                 7
